Case 4:07-cv-05944-JST Document 1550-1 Filed 02/08/13 Page 1 of 3

Attachment A
Case 4:07-cv-05944-JST

Document 1550-1 Filed 02/08/13 Page 2 of 3

CRT LITIGATION

Deadline

Current Schedule

Agreed-Upon
Dates

Disputed Dates

Hearing on Indirect Class Cert
Motion

TBD

TBD

Mediation — Direct Class

March 15, 2013
(On or Before)

Expert Reports due for ail Plaintiffs

April 23, 2013

October 23, 2013

Expert Reports due for all
Defendants

May 23, 2013

November 22, 2013

Rebuttal Expert Reports due for all
Plaintiffs

June 24, 2013

January 31, 2014

Close of Expert Discovery

August 30, 2013

March 3, 2014

Close of Fact Discovery

August 30, 2013

March 3, 2014

Deadline for Filing Dispositive
Motions

September 18,
2013

April 15, 2014

Deadiine for Filing Oppositions to November 1, 2013 | June 2, 2014
Dispositive Motions
Deadime for Filing Replies in December 31,2013 | July 2, 2014

Support of Dispositive Motions

Hearing on Dispositive Motions

December 20, 2013

July 18, 2014

Mediation Deadline

August 8, 2013

Fuly 31, 2014

Deadlines for Filing Motions in
Limine and other Pretrial Motions

January 15, 2014

August 15, 2014

Deadline for Transferring Cases to
Original Courts

January 15, 2014

August 15, 2014

Deadline for Settlement Conference

January 15, 2014

August 15, 2014

Deadline to Meet and Confer re
Pretrial Order

January 22, 2014

August 22, 2014

Deadline to Exchange Exhibit and
Witness Lists

January 29, 2014

August 29, 2014

Deadline for Filing Pretrial Order
and Jury Instructions

January 29, 2014

August 29, 2014

Deaditne for Filing Oppositions to
Motions in Limine

January 29, 2014

August 29, 2014

Deadline for Filing Replies in
Support of Motions in Limine

February 12, 2014

September 12, 2014

Hearing on Motions in Limine

February 26, 2014

September 26, 2014

Final Pretrial Conference

March 5, 2014

October 6, 2014

Trial(s) Begin

April 14, 2014

October 20, 2014*

Case 4:07-cv-05944-JST Document 1550-1 Filed 02/08/13 Page 3 of 3

e The dates above apply to the action of the California Attomey General only insofar as the close of
fact discovery on Defendants, the date of the expert report due from Plaintiffs, and mediation is
concerned,
